    Case 24-05209         Doc 8      Filed 03/28/24        Entered 03/28/24 14:55:11               Page 1 of 2




                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                    BRIDGEPORT DIVISION

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                                                                 :
In re:                                                           :   Chapter 11
                                                                 :
                               1
HO WAN KWOK, et al.,                                             :   Case No. 22-50073 (JAM)
                                                                 :
                                 Debtors.                        :   (Jointly Administered)
                                                                 :
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                                                                 :
LUC A. DESPINS, CHAPTER 11                                       :
TRUSTEE,                                                         :
                                 Plaintiff,                      :   Adv. Proceeding No. 24-05209 (JAM)
v.                                                               :
                                                                 :
JOHN B. BERRYHILL,                                               :
                                                                 :
                                 Defendant.                      :
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CERTIFICATE OF SERVICE REGARDING SUMMONS, COMPLAINT, AND NOTICE
        OF APPLICABILITY OF AVOIDANCE ACTION PROCEDURES

         On February 13, 2024, Luc A. Despins, in his capacity as the chapter 11 trustee (the

“Trustee”) appointed in the chapter 11 case (the “Chapter 11 Case”) of Ho Wan Kwok (the

“Debtor”), filed his Adversary Complaint and certain exhibits thereto [Adv. Proc. ECF No. 1]

(collectively, the “Complaint”) using the Court’s case management/electronic case files system

(“CM/ECF”).




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     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
     LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
     for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park
     Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes
     of notices and communications).
 Case 24-05209          Doc 8   Filed 03/28/24   Entered 03/28/24 14:55:11       Page 2 of 2




       On February 22, 2024, the Summons [Adv. Proc. ECF. No. 3] (the “Summons”) was filed

via CM/ECF.

       On February 27, 2024, the Trustee filed the Notice of Applicability of Avoidance Action

Procedures [Adv. Proc. ECF No. 4] (the “Procedures Notice” and, together with the Complaint,

and the Summons, collectively, the “Served Documents”) via CM/ECF.

       On February 29, 2024, I caused the Served Documents to be sent via first-class U.S. Mail

and UPS or Federal Express overnight delivery to defendant John B. Berryhill at the following

address(es):

 John B. Berryhill
 4 West Front Street,
 Media, PA 19063


Dated: March 28, 2024                            LUC A. DESPINS,
       New Haven, Connecticut                    CHAPTER 11 TRUSTEE

                                                 /s/ Patrick R. Linsey
                                                 Patrick R. Linsey (ct29437)
                                                 NEUBERT, PEPE & MONTEITH, P.C.
                                                 195 Church Street, 13th Floor
                                                 New Haven, Connecticut 06510
                                                 (203) 781-2847
                                                 plinsey@npmlaw.com

                                                 Counsel for the Chapter 11 Trustee
